Case 10-10352-KG Doc1020 Filed 12/19/11 Page 1 of 2

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re:

Chapter 11
SP Wind Down Inc., f/k/a Spheris Inc., Case No. 10-10352 (KG)

Debtor. Re: Docket No. 1011

 

FINAL DECREE CLOSING THE DEBTOR’S CHAPTER 11 CASE

 

Upon consideration of the motion (the “Motion”)! of the SP Wind Down Trust, by and

 

through Walter A. Jones as Liquidation Trustee, pursuant to section 350(a) of the Bankruptcy
Code, Bankruptcy Rule 3022 and Local Rule 5009-1, for entry of a final decree in the above-
captioned chapter 11 case (the “Chapter 11 Case”); and it appearing that SP Wind Down’s estate
has been fully administered; and the Court having determined that the legal and factual bases set
forth in the Motion establish just cause for the relief granted herein; and upon all of the
proceedings had before the Bankruptcy Court and after due deliberation and sufficient cause
appearing therefor,

IT IS HEREBY ORDERED THAT:

1, The Motion is GRANTED in its entirety.

2. Any objections to the entry of this Order or the relief granted herein and requested
in the Motion that have not been withdrawn, waived or settled, and all reservations of rights
included therein, are hereby OVERRULED and DENIED on the merits.

3. The case of SP Wind Down Inc., f/k/a Spheris Inc. [Case No. 10-10352 (KG)] is

hereby CLOSED.

 

' Capitalized terms used, but not otherwise defined herein, shall be given the same meaning ascribed to
them in the Motion.

RLF1 5688249v. 1

 
Case 10-10352-KG Doc1020 Filed 12/19/11 Page 2 of 2

4. Within ten (10) business days of the entry of this Final Decree, the Liquidation
Trustee, on behalf of the Liquidation Trust, shall pay to the Office of the United States Trustee
for the District of Delaware (the “U.S. Trustee”) all outstanding statutory fees owed on account
of SP Wind Down to the U.S. Trustee in accordance with either applicable law or any agreement
between the Liquidation Trustee and the U.S. Trustee; provided that, in the event statutory fees
are not paid as set forth herein, the U.S. Trustee shall have the right to reopen the Chapter 11
Case to seek compliance with this provision of the Final Decree.

5. This Bankruptcy Court retains jurisdiction with respect to all matters arising from

or related to the interpretation or implementation of the Plan and this Order.

Dated: December IG , 2011
Wilmington, Delaware

 

UNITED STATES BANKRUPTCY JUDGE

RLF1 5688249v. 1

 
